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 6
   Attorneys for the United States of America
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 8                                     UNITED STATES DISTRICT COURT

 9                                    NORTHERN DISTRICT OF CALIFORNIA

10                                             OAKLAND DIVISION

11   WILBUR P.G., et al.,                              )   CASE NO. 4:21-cv-4457-KAW
                                                       )
12           Plaintiffs,                               )   STIPULATION AND PROPOSED ORDER TO
                                                       )   SET BRIEFING SCHEDULE AND INCREASE
13      v.                                             )   PAGE LIMITS
                                                       )
14   UNITED STATES OF AMERICA,                         )
                                                       )
15           Defendant.                                )

16

17           Pursuant to Civil Local Rules 6-2 and 7-12, and subject to the Court’s approval, the parties
18 stipulate as follows:

19           (1)     Pursuant to the parties’ stipulation, the current deadline for the United States to answer or
20 otherwise respond to the complaint is January 5, 2022. ECF No. 26. The parties have conferred about

21 setting a briefing schedule in the event the Government files a motion in response to the complaint on

22 January 5, 2022. The parties propose the following schedule:

23           Defendant’s motion                     January 5, 2022
24           Plaintiffs’ opposition                 February 2, 2022
25           Defendant’s reply                      February 16, 2022
26           Hearing                                March 3, 2022 at 1:30 p.m.
27

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     STIPULATION AND PROPOSED ORDER TO SET BRIEFING SCHEDULE AND INCREASE PAGE LIMITS
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 1          (2)     Plaintiffs plead five separate causes of action in their 65-page complaint. In light of the

 2 issues raised in the complaint, the parties respectfully request that their briefing on any responsive

 3 pleading be permitted to exceed the pages limits set forth in Civil Local Rules 7-2 and 7-3. Specifically,

 4 the parties request that Defendant be permitted 30 pages for its motion, Plaintiffs be permitted 30 pages

 5 for their opposition, and Defendant be permitted 18 pages for its reply.

 6          IT IS SO STIPULATED.

 7 Dated: December 27, 2021                                  KEKER, VAN NEST & PETERS LLP

 8
                                                       By:          /s/ Travis Silva
 9                                                           Brook Dooley
                                                             Travis Silva
10                                                           Christopher S. Sun

11
                                                             LAWYERS’ COMMITTEE FOR CIVIL RIGHTS
12                                                           OF THE SAN FRANCISCO BAY AREA

13                                                     By:         /s/ Bree Bernwanger
                                                             Bree Bernwanger
14                                                           Hayden Rodarte

15                                                           Counsel for Plaintiffs

16
     Dated: December 27, 2021                                Respectfully submitted,
17
                                                             STEPHANIE M. HINDS
18                                                           United States Attorney

19                                                            /s/ Michelle Lo
                                                             Michelle Lo
20                                                           Assistant United States Attorney
21                                                           Counsel for the United States of
                                                             America
22

23                                            ECF ATTESTATION
24          In accordance with Civil Local Rule 5(i)(3), I, Michelle Lo, attest that I have obtained
25 concurrence in the filing of this document from all other signatories listed here.

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     STIPULATION AND PROPOSED ORDER TO SET BRIEFING SCHEDULE AND INCREASE PAGE LIMITS
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 1                                    DECLARATION OF MICHELLE LO

 2          I, Michelle Lo, declare and state as follows:

 3          1.       I am an Assistant United States Attorney for the Northern District of California and

 4 counsel for the United States of America in this action. I have personal knowledge of the matters set

 5 forth below, except those matters that are based on information and belief, which I believe to be true, and

 6 could and would testify competently to them if called to do so.

 7          2.       I submit this declaration in support of the Stipulation and Proposed Order to Set Briefing

 8 Schedule and Increase Page Limits pursuant to Civil Local Rules 6-2 and 7-12.

 9          3.       Plaintiffs, consisting of three sets of parents and their children, filed a 65-page complaint

10 in this action pursuant to the Federal Tort Claims Act, 28 U.S.C. §§ 1346(b)(1), 2671-2680. Plaintiffs

11 assert five separate claims for relief, including intentional infliction of emotional distress, negligence,

12 abuse of process, negligent supervision/breach of fiduciary duty, and loss of consortium. ECF No. 1.

13          4.       The parties stipulate to and request a briefing schedule in the event the Government files

14 a motion in response to the complaint on its current deadline of January 5, 2022. This briefing schedule

15 would alter the normal 35-day motion calendar by providing Plaintiffs two extra weeks for opposition

16 and Defendant one extra week for reply.

17          5.       In light of the issues raised in the complaint, the parties also respectfully request that their

18 briefings on any responsive pleading be permitted to slightly exceed the 25-25-15 pages limits set forth

19 in Civil Local Rules 7-2 and 7-3 for motion-opposition-reply. Specifically, the parties request that

20 Defendant be permitted 30 pages for its motion, Plaintiffs be permitted 30 pages for their opposition,

21 and Defendant be permitted 18 pages for its reply.

22          6.       There have been three previous time modifications in the case. Two modifications

23 occurred upon orders of this Court granting the United States’ administrative motions for 60-day time

24 extensions to respond to the complaint. ECF No. 21 (August 12, 2021 order); ECF No. 24 (October 12,

25 2021 order). A third modification occurred on December 6, 2021 by stipulation of the parties pursuant to

26 Civil Local Rule 6-1(a), extending the deadline for the United States to respond to the complaint from

27 December 13, 2021 to January 5, 2022 based on attorney availability. ECF No. 26.

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     STIPULATION AND PROPOSED ORDER TO SET BRIEFING SCHEDULE AND INCREASE PAGE LIMITS
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 1          I declare under penalty of perjury under the laws of the United States of America that the

 2 foregoing is true and correct.

 3 Dated: December 27, 2021                       /s/ Michelle Lo
                                                  Michelle Lo
 4                                                Assistant United States Attorney

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     STIPULATION AND PROPOSED ORDER TO SET BRIEFING SCHEDULE AND INCREASE PAGE LIMITS
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                                                 4
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 1                                            [PROPOSED] ORDER

 2          Pursuant to stipulation, IT IS SO ORDERED that:

 3          1.       Should the Government file a motion in response to the complaint on January 5, 2022,

 4 the following schedule shall apply:

 5                   Defendant’s motion                    January 5, 2022

 6                   Plaintiffs’ opposition                February 2, 2022

 7                   Defendant’s reply                     February 16, 2022

 8                   Hearing                               March 3, 2022 at 1:30 p.m.

 9          2.       Defendant is permitted 30 pages for its motion, Plaintiffs are permitted 30 pages for their

10 opposition, and Defendant is permitted 18 pages for its reply.

11

12 DATED: ____________
                                                           HON. KANDIS A. WESTMORE
13                                                         United States Magistrate Judge
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     [PROPOSED] ORDER
     CASE NO. 4:12-CV-04376-KAW
